Case 3:19-cv-00315-DJS Document 28 Filed 06/06/19 Page 1 of 1

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Admitted Pro Hac Vice

IN THE UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

Z.P., : Civil Action
: No.: 3:19-cv-00315
Plaintiff,

VS.
NOTICE OF APPEARANCE
YALE UNIVERSITY,
YALE-NEW HAVEN HOSPITAL,
PETER SALOVEY,
JONATHAN HOLLOWAY,
DR. PAUL GENECIN,
DR. LORRAINE SIGGINS,
JOHN DOES, 1-3
JANE DOES 1-3,

Defendants.

Robert J. De Groot, Esq., hereby enters an Appearance on
behalf of the Plaintiff as counsel pro hac vice.

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Date: June 6, 2019
